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UNITED STATES DISTRICT COURT 02 Aue. a
SOUTHERN DISTRICT OF INDIANA AUG 22 PH 3:4
INDLANAPOLIS DIVISION

Koor An Nur of Katie Mary Brown, )

a/k/a Eric D. Holmes IP) 2 - 1 3] / C H /S

Plaintiff(s),

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No.
(Supplied by Clerk)

VS.
Cynthia Emkes
Jeffery Modisett

Randali Shepard
Frank Sullivan, Jr.
Brent Dickson
Robert Rucker
Theodore Boehn
Myra Selby

Roger DeBruler

Bepsag,grserson
(Enter above the full name of the

Defendant(s) in this action.)

Defendants.

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COMPLAINT
I. PARTIES
The names and addresses of each plaintiff and defendant are the following:
A. Plaintiff(s)
Name Koor An Nur of Katie Mary Brown

a/k/a Eric D. Holmes
Identification Number _ 222132

P.O. Box 41

Address

Michigan City, IN 46361

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Name N As

Identification Number

Address

Name AL L A

Identification Number

Address

Name via

T

Identification Number

Address

B. Defendant(s)

Name Cynthia Emkes,

Title Judge

Address Franklin County Superior court #2
18 W. Jefferson
Franklin, IN 46131

Name Jeffrey Modisett

Title (Former) Attorney General of Indiana

Address 523 24th Street

Manhattan Beach, CA 90266-2206

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Name Faye Mowery

Title (Former) Clerk of the Court

Address 796 Whitley Court

Noblesville, IN 46060-7378

Name William Rumple

Title (Former) Deputy Chief, Marion Co. Jail

Address _618 Fast 37th Street

Indianapolis, IN 46205

Name Randall T. Shepard

Title Chief Justice Indiana Supreme Court

Address Supreme Court of Indiana

Indianapolis, IN 46204 =

(Identify additional plaintiffs and defendants on a separate sheet of paper using this same

outline)

ll. STATEMENT OF JURISDICTION AND PREVIOUS LAWSUITS:
Jurisdiction over this action exists in the United States District Court for the Southern

District of Indiana because Violations of civil rights and violations

of the United States Constitution took place in the City of Indianapoli

County of Marion, the State of Indiana.

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DEFENDANTS:
Frank Sullivan, J
Justice, Indiana
Supreme Court of
Indianapolis, IN
Brent Dickson
Justice, Indiana
Supreme Court of
Indianapolis, IN
Robert Rucker
Justice, Indiana
Supreme Court of
Indianapolis, IN
Theodore Boehn
Justice, Indiana
Supreme Court of
Indianapolis, IN
Myra Selby
Justice, Indiana
Supreme Court of
Indianapolis, IN
Roger DeBruler
Justice, Indiana
Supreme Court of
Indianapolis,
Superintendent,
P.O.Box 41

Michigan City, IN

r.

Supreme

Indiana
46204

Supreme
Indiana
46204

Supreme
Indiana
46204

46361

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Court

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Indiana State Prison

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Defendants:

Mark Martz - County Attorney
241 City-County Building

200 E. Washington Street
Indianapolis, Indiana 46204

Chief Counsel

2501 City-County Building
200 E. Washington Street
Indianapolis, Indiana 46204

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If the same facts alleged or claims made in this suit have been previously presented to any
other state or federal court in an earlier suit, for each such earlier suit identify the parties,
the court in which it was filed, the docket number assigned to the suit, the status of such
earlier suit (for example: pending, dismissed, set for trial, on appeal, etc.) and the nature
of the disposition if the earlier case is closed.

N/A

[V¥V. CAUSE OF ACTION

State which of your constitutional or federal rights, privileges or immunities have been
violated and summarize in one or two sentences what the defendant(s) did to wolate vour
nights in that regard. If you are claiming that more than one of your constitutional rights
was violated, use a separate paragraph (ground) for each right, privilege or immunity which

was violated. If you have more than four (4) grounds, identify them in a separate attached
piece of paper.

Ground 1; _tllegal ex parte communication between judge and Attorney

General, leading to illegal proceedings, violating Plaintiff's

due process and equal protection rights,

Ground 2: Improper court records and notification of court decision

caused false imprisonment under the Supervision of Faye Mowery,

Clerk of the Court, Marion County, Indianapolis, Indiana

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Ground 3: _Obstruction of Justice by the court, Attorney General,

court clerk and police department to properly litigate Plaintiff's

case, which further impeded Plaintiff's access to the court

and administration of justice.

Ground 4: Racial Discrimination

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V. STATEMENT OF FACTS

State here the FACTS of your case. You should outline both the facts: on which your suit
is based and the particular role of each named defendant in those circumstances.

On or about 11/16/91 Judge C.Emkes called Defense Attorney Baratz

on 3 occasions, stating that prosecutor had dismissed charges. 8/5/92

prosecutor filed new charges, holding Plaintiff 263 days in jail with

no charges. 8/7/92 new charges were read and was arrainged by Judge

Ridgley, prosecutor Jones orally moved to dismiss charges, The motion

was granted. Record supports that Emkes called Baratz, that she was

advised by Atty. General,J. Modisett to reinstate previous charges. or

vacate motion to dismiss. 8/7/92 Prosecutor Jennings filed motion to

withdraw previous motion to dismiss. The record is silent on granting

denying motion. Judge Emkes ordered F Moyery, court clerk to consolidate

all pleadings and orders. This was not properly done, documents were

lost or destroyed impeding access to the court. J.Davis impeded the

administration of justice by offering perjured testimony in a capital

case. W.Rommerill, held plaintiff in jail with a wait and see if he

complains attitude. The Indiana Supreme Court Justices, Shepard, DeBruler,

Sullivan, Boehn, Dickson, Selby, and Rucker, blatantly disregarded the

facts of exparte communication. That the judge did not seek legal

advise from the atty. general. It is clear from the record that Modisett

took special interest in the outcome by initiating the improper and

illegal communication to dictate the Secision of the judge. The dictation

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to Judge Emkes caused Judge Ridgley to assume that there were pending

charges in Emke's court. Emkes falsely stated that all parties agreed

to the consolidated order. Emkes lacked jurisdiction to consolidate

charges when in fact, there were no pending charges in front of Ridgley,

they had previously been dismissed. R.Anderson, Superintendent of the
State Prison is holding plaintiff illegally.
VI. RELIEF

State exactly what relief or action you are requesting through this lawsuit.

“All _persons named in this complaint and found guilty of violating the

Plaintiff's civil rights to receive appropriate punishment prescribed

by law. To pay compensation for false imprisonment, punitive damages,

financial loss, court costs, attorney fees and all other costs that

arise from the proceedings, amount to be established. Person(s) charged

with capital offense in the State of Indiana, be indicted only through

Grand Jury, barring use of information sheet procedure and one person

decision on death penalty prosecution.

AFFIRMATION OF PLAINTIFF
I, the plaintiff in the aforementioned cause, do affirm that I have read ail of the statements
contained in the complaint and that I believe them to be, to the best of my personal

knowledge, true and correct.

Signed this Lb A day of NL UEUST A008

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J (Signature of Plainwft)

